              Case 3:21-cv-05461-WHO Document 21 Filed 09/24/21 Page 1 of 2




 1 GUTRIDE SAFIER LLP
   SETH A. SAFIER (State Bar No. 197427)
 2 MARIE A. MCCRARY (State Bar No. 262670)
   HAYLEY REYNOLDS (State Bar No. 306427)
 3 100 Pine Street, Suite 1250
   San Francisco, CA 94111
 4 Telephone: (415) 639-9090
   Facsimile: (415) 449-6469
 5
   Attorneys for Plaintiff
 6
 7                           UNITED STATES DISTRICT COURT FOR THE
 8                              NORTHERN DISTRICT OF CALIFORNIA
 9   JOSEPH WAGNER as individual, on behalf of         Case No.: 3:21-cv-05461-WHO
     himself, the general public and those similarly
10   situated,                                         NOTICE OF VOLUNTARY DISMISSAL
                                                       WITHOUT PREJUDICE
11                          Plaintiff,
12          v.
13   MOLSON COORS BEVERAGE COMPANY,
14                          Defendant.
15
16
17
18

19
20
21
22
23
24
25
26
27
28

                                                -1-
                 NOTICE OF DISMISSAL WITHOUT PREJUDICE - CASE NO.: 3:21-CV-05461-WHO
              Case 3:21-cv-05461-WHO Document 21 Filed 09/24/21 Page 2 of 2




 1
 2          Notice is hereby given pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil
 3   Procedure that Plaintiff JOSEPH WAGNER voluntarily dismisses the above-captioned litigation
 4   without prejudice.
 5
     DATED: September 23, 2021                GUTRIDE SAFIER LLP
 6
 7
                                              /s/Seth A. Safier/s/
 8                                            Seth A. Safier
                                              Marie A. McCrary
 9                                            Hayley Reynolds
                                              Gutride Safier LLP
10                                            100 Pine Street, Suite 1250
11                                            San Francisco, CA 94111
                                              Telephone: (415) 639-9090
12                                            Facsimile: (415) 449-6469

13
                                              Attorneys for Plaintiff Wagner
14
15
16
17
18

19
20
21
22
23
24
25
26
27
28

                                             -2-
              NOTICE OF DISMISSAL WITHOUT PREJUDICE - CASE NO.: 3:21-CV-05461-WHO
